Case 1:13-cv-03309-REB-KMT Document 110 Filed 09/10/15 USDC Colorado Page 1 of 5




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

   Civil Action No. 13-cv-03309-REB-KMT

   MARTIN THOMAS WIRTH,

           Plaintiff,

   v.

   JOHN HICKENLOOPER, in his official capacity as Governor of Colorado, et al.,

           Defendants.


                        ORDER ADOPTING RECOMMENDATION OF THE
                           UNITED STATES MAGISTRATE JUDGE

   Blackburn, J.

           The matter before me is the Recommendation of United States Magistrate

   Judge [#109],1 filed August 21, 2015. No objections having been filed to the

   recommendation, I review it only for plain error. See Morales-Fernandez v.

   Immigration & Naturalization Service, 418 F.3d 1116, 1122 (10th Cir. 2005).2

           The recommendation is detailed and well-reasoned. I find no error, much less

   plain error, in the magistrate judge’s recommended disposition. It is plain that plaintiff’s

   first five claims for relief run afoul of the prescription of the Rooker-Feldman doctrine,



           1
              “[#109]” is an example of the convention I use to identify the docket number assigned to a
   specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
   convention throughout this order.
           2
              This standard pertains even though plaintiff is proceeding pro se in this matter. Morales-
   Fernandez, 418 F.3d at 1122. In addition, because plaintiff is proceeding pro se, I have construed his
   pleadings more liberally and held them to a less stringent standard than formal pleadings drafted by
   lawyers. See Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197, 2200, 167 L.Ed.2d 1081 (2007);
   Andrews v. Heaton, 483 F.3d 1070, 1076 (10th Cir. 2007); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th
   Cir. 1991) (citing Haines v. Kerner, 404 U.S. 519, 520-21, 92 S.Ct. 594, 595-96, 30 L.Ed.2d 652 (1972)).
Case 1:13-cv-03309-REB-KMT Document 110 Filed 09/10/15 USDC Colorado Page 2 of 5




   which prevents federal courts from entertaining lawsuits “brought by state-court losers

   complaining of injuries caused by state-court judgments rendered before the district

   court proceedings commenced and inviting district court review and rejection of those

   judgments.” Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280, 284,

   125 S.Ct. 1517, 1521-22, 161 L.Ed.2d 454 (2005). Those claims therefore must be

   dismissed for lack of subject matter jurisdiction. See Dillard v. Bank of New York, 476

   Fed. Appx. 690, 691-92 & n.3 (10th Cir. April 3, 2012) (finding putative federal challenge

   to Colorado Rule 120 foreclosure proceeding barred by Rooker-Feldman).

          As for the remaining claims, the magistrate judge has explained concisely and

   cogently why these claims are properly dismissed under Rule 12(b)(6).

   (See Recommendation at 9-11.) Plaintiff plainly has no private right of action to

   enforce the majority of the criminal statutes he claims defendants violated. See

   Chrysler Corp. v. Brown, 441 U.S. 281, 316, 99 S.Ct. 1705, 1725, 60 L.Ed.2d 208

   (1979). As for his putative RICO claim, plaintiff’s wholly conclusory allegations are

   patently insufficient to survive a motion to dismiss. See Ashcroft v. Iqbal, 556 U.S.

   662, 678 , 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009); Robbins v. Oklahoma, 519

   F.3d 1242, 1247-48 (10th Cir. 2008).

          Finally, I note that although plaintiff attempted to serve defendant Arthur R.

   Smith, the process server indicated that he was unable to locate Judge Smith. (See

   [#99], filed November 12, 2014.) The docket is devoid of any indication that plaintiff has

   made further efforts to locate Judge Smith, let alone effectuate service on him.

   Regardless, even if Judge Smith had been served timely and properly, the same



                                                2
Case 1:13-cv-03309-REB-KMT Document 110 Filed 09/10/15 USDC Colorado Page 3 of 5




   arguments that doom plaintiff’s claims against all other defendants would apply equally

   to any claim against Judge Smith, and those claims will be dismissed as well.

         THEREFORE, IT IS ORDERED as follows:

         1. That Recommendation of United States Magistrate Judge [#109], filed

   August 21, 2015, is approved and adopted as an order of this court;

         2. That the following motions are granted:

                a. Defendants Governor John Hickenlooper’s and Judge Stephen A.

                Groome’s Motion To Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1) and

                (6) [#85], filed September 15, 2014;

                b. Defendants The Castle Law Group, Cynthia Lowery-Graber,

                Deanna Westfall, Britney Beall-Eder, Christopher T. Groen and

                Lawrence E. Castle’s Motion To Dismiss 5th Amended Complaint

                Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) [#87], filed September

                19, 2014;

                c. Defendants Nationstar Mortgage, LLC and Jay Bray’s Motion To

                Dismiss Fifth Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1)

                and 12(b)(6) [#90], filed October 6, 2014;

                d. Defendant Fred Wegener’s Motion To Dismiss 5th Amended

                Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) [#92], filed

                October 8, 2014;

                e. Defendant Mary Hager’s Motion To Dismiss Plaintiff’s Fifth

                Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and


                                              3
Case 1:13-cv-03309-REB-KMT Document 110 Filed 09/10/15 USDC Colorado Page 4 of 5




                 12(b)(6) [#96], filed October 16, 2014;

                 f. Defendant Michelle Miller’s Motion To Dismiss 5th Amended

                 Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) [#98], filed October 31,

                 2014; and

                 g. Defendants Federal National Mortgage Association and Timothy

                 Mayopoulos’s Motion To Dismiss Fifth Amended Complaint Pursuant

                 to Fed. R. Civ. P. 12(b0(1) and 12(b)(6) [#101], filed November 12, 2014;

          3. That all plaintiff’s claims in this lawsuit, other than his putative RICO claim, are

   dismissed with prejudice;

          4. That plaintiff’s putative RICO claim is dismissed without prejudice;

          5. That judgment shall enter in favor of defendants, John Hickenlooper, in his

   official capacity as Governor of Colorado; Stephen A. Groome, Judge – 11th District

   Court Judge; Arthur R. Smith, Senior Judge – Retired from Mesa County Court;

   Michelle Miller, in her official capacity as Public Trustee of Park County; Nationstar

   Mortgage, LLC (Nationstar); Jay Bray, Chief Executive of Nationstar in his corporate

   and individual capacity; Federal National Mortgage Association (FNMA), Timothy

   Mayopoulos, Chief Executive of FNMA in his corporate and individual capacities; The

   Castle Law Group, LLC (CLG); Cynthia Lowery-Graber, CLG Attorney; Deanna

   Westfall, CLG Attorney; Britney Beall-Eder, CLG Attorney; Christopher T. Groen, CLG

   Attorney; Lawrence E. Castle, Chief Executive of CLG in his corporate and individual

   capacities; Fred Wegener, individually and in his official capacities; and Mary Hager,

   individually, and against plaintiff, Martin Thomas Wirth, as follows:



                                                 4
Case 1:13-cv-03309-REB-KMT Document 110 Filed 09/10/15 USDC Colorado Page 5 of 5




                a. Without prejudice as to plaintiff’s putative RICO claim; and

                b. With prejudice as to all other claims asserted herein; and

         6. That defendants are awarded their costs, to be taxed by the clerk of the court

   in the time and manner required by Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.

         Dated September 10, 2015, at Denver, Colorado.

                                                  BY THE COURT:




                                              5
